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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. ____________-CIV-___________/____________


  JULIO A. TAVERAS, on behalf of himself
  and others similarly situated,

            Plaintiff,

            v.

  ATLANTIC & PACIFIC ASSOCIATION
  MANAGEMENT, INC., a Florida Corporation,

        Defendant.
  ___________________________________________/

                                             COMPLAINT

            1.      Plaintiff, JULIO A. TAVERAS (hereinafter referred to as “Plaintiff”), is an

  individual residing in Miami-Dade County, Florida.

            2.      Defendant, ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC., is

  a Florida Corporation that at all times material to this Complaint has owned and operated a real

  estate company specializing in acquisitions, development, property management, and investments

  at more than 140 properties in different locations across the United States including in Florida—

  with Defendant’s headquarters in Bay Harbour Islands within Miami-Dade County—as well as in

  Georgia, Texas, and California.

            3.      Plaintiff brings this action on behalf of himself 1 and other current and former
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  employees of ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. similarly

  situated to Plaintiff who have worked as non-exempt administrative office employees, however

  variously titled, for overtime compensation and other relief under the Fair Labor Standards Act


  1
      Attached hereto is a signed Consent to Join of JULIO A. TAVERAS.


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  (“FLSA”), as amended, 29 U.S.C. §216(b). More specifically, this action is brought to recover

  from ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. unpaid overtime

  compensation, liquidated damages, and the costs and reasonable attorneys’ fees of this action under

  the provisions of the FLSA, 29 U.S.C. §216(b), for Plaintiff and the other non-exempt

  administrative office employees of ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT,

  INC.

         4.      Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §1337.

         5.      All of the events, or a substantial part of the events, giving rise to this action,

  occurred within the jurisdiction of the United States District Court for the Southern District of

  Florida, Miami Division.

         6.      At all times material to this Complaint including but not necessarily limited to

  during the years of 2015, 2016, 2017, and 2018, ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. has had two (2) or more employees who have regularly sold, handled, or

  otherwise worked on goods and/or materials that had been moved in or produced for commerce.

  In this regard, Plaintiff alleges based upon information and belief and subject to discovery, that at

  all times material to this Complaint including during the years 2015, 2016, 2017, and 2018,

  ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. has employed two (2) or more

  employees who, inter alia, have regularly: (a) sold, handled, or otherwise worked with keys, and

  fobs that are goods and/or materials that had been moved in or produced for commerce; (b) handled

  and worked with office equipment such as computers and telephones, and supplies such as paper,

  pens, U.S. Postal Service & FedEx shipping materials, all of which were goods and/or materials

  moved in or produced for commerce; and (c) processed and participated in electronic bank

  transfers and other financial electronic transactions across State lines between Florida, Georgia,




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  Texas, and California.

         7.      Based upon information and belief, the annual gross sales volume of ATLANTIC

  & PACIFIC ASSOCIATION MANAGEMENT, INC. has been in excess of $500,000.00 per

  annum at all times material to this Complaint, including but not necessarily limited to during the

  years of 2015, 2016, 2017, and 2018.

         8.      At all times material to this Complaint, including but not necessarily limited to

  during the years of 2015, 2016, 2017, and 2018, ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. has been an enterprise engaged in interstate commerce or in the

  production of goods for commerce as defined by the FLSA, 29 U.S.C. §203(s).

         9.      In approximately May 2017, Plaintiff was hired by ATLANTIC & PACIFIC

  ASSOCIATION MANAGEMENT, INC. as a non-exempt “Front Desk” employee based upon the

  rate of approximately $12.00 per hour.

         10.     In numerous work weeks during the three (3) year statute of limitations period

  between approximately May 2017 and May 2018, Plaintiff worked for ATLANTIC & PACIFIC

  ASSOCIATION MANAGEMENT, INC. as a non-exempt, hourly employee in positions known

  as “Front Desk” and “Administrative Assistant” in Defendant’s office at the Brickell Heights

  property located at 45/55 SW 9th Street, Miami, Florida 33130, with primary duties that were non-

  exempt in nature consisting of:

          (a) working at the front desk answering telephone and greeting residents and guests;
          (b) data entry of checks received and paid out to vendors and/or refunds to residents;
          (c) assisting residents on their parking assignments;
          (d) selling access fobs, sending out newsletters, and handling reservations for the amenities
  for both the East and West Towers;
          (e) accepting dry cleaning delivered for the building staff and residents; and
          (f) submitting office supplies orders and organize supplies upon delivery.




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         11.     Between approximately May 2017 and May 2018, Plaintiff regularly worked in

  excess of Forty (40) hours per week for Defendant in numerous work weeks during his

  employment as a non-exempt, hourly employee for ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. in Miami-Dade County, Florida.

         12.     Likewise, the other employees of ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. who are similarly situated to Plaintiff have regularly worked as non-

  exempt administrative office employees, however, variously titled, in excess of Forty (40) hours

  in one or more work weeks during their employment with Defendant at numerous locations within

  the three (3) year statute of limitations period between October 2015 and the present without being

  paid time and one-half wages for all of their actual overtime hours worked for Defendant.

         13.     The additional persons who may become Plaintiffs in this action are ATLANTIC

  & PACIFIC ASSOCIATION MANAGEMENT, INC.’s current and former non-exempt

  administrative office employees, however variously titled, who have worked for Defendant at any

  location in one or more weeks between October 2015 and the present without being paid time and

  one-half wages for all of their actual hours worked in excess of Forty (40) hours per week for

  ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC.

         14.     Based upon information and belief, ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. has failed to pay time and one-half wages for all of the actual overtime

  hours worked by Plaintiff and other similarly situated non-exempt administrative office

  employees, however variously titled, during multiple work weeks within the three (3) year statute

  of limitations period between October 2015 and the present as a result of:

                (a) Defendant’s policy and/or practice of failing to maintain accurate time
         records of all of the hours worked by Plaintiff and other non-exempt employees
         including between approximately August 2017 and November 2017 while Plaintiff
         was transitioning between “Front Desk” and “Administrative Assistant” and not



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         crediting Plaintiff for all hours worked each week between August 2017 and
         November 2017; and
                 (b) Plaintiff and other similarly situated employees working during
         purported meal break periods because of, including but not necessarily limited to,
         Defendant’s practice of not allowing Plaintiff and other non-exempt employees to
         leave the building during lunch breaks beginning in approximately December 2017
         and instead having to perform duties for the benefit of Defendant.

         15.     More specifically, during the three (3) year statute of limitations period between

  approximately May 2017 and May 2018, Plaintiff regularly worked an average of Five (5) days

  per week as a non-exempt, hourly office administrative employee for ATLANTIC & PACIFIC

  ASSOCIATION MANAGEMENT, INC. in Miami-Dade County, with start times as early as

  approximately 7:00 a.m. and stop times that ranged between approximately 5:00-6:00 p.m., with

  total hours on numerous weeks that ranged between approximately Forty-Five (45) and Fifty (50)

  hours per week.

         16.     However, Plaintiff alleges that ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. failed to pay him for an average of approximately: (a) Seven (7)

  uncompensated overtime hours per week during a total of approximately Ten (10) work weeks

  between approximately August 2017 and November 2017 as a result of Defendant failing to

  maintain accurate time records of all of his actual start times, stop times, and total hours worked;

  and (b) Two (2) uncompensated overtime hours per week during a total of approximately Nineteen

  (19) work weeks between approximately December 2017 and May 2018 as a result of Plaintiff

  performing work during purported meal break periods which were not compensated, such that

  based upon Plaintiff being owed time and one-half wages at the rates of approximately $18.00/hour

  [$12.00 x 1.5 = $18.00/hour] and $22.50/hour [$15.00 x 1.5 = $22.50/hour], Plaintiff’s unpaid

  overtime wages total approximately $2,115.00 [($18.00/hour x 7 Unpaid OT hours/week x 10

  weeks = $ 1,260.00) + ($22.50/hour x 2 Unpaid OT hours/week x 19 weeks = $855.00) ( $1,260.00




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  + $855.00 = $2,115.00)].

         17.     Based upon information and belief, records of at least some of the start times, stop

  times, number of hours worked each day, and total hours worked each week by Plaintiff and

  ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC.’s other similarly situated non-

  exempt administrative office employees, however variously titled, between October 2015 and the

  present are in the possession, custody, and/or control of Defendant.

         18.     Based upon information and belief, ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. including but not necessarily limited to Defendant’s General Managers,

  Jessica Rios and subsequently Stephen Walshe—to whom Plaintiff complained regarding his

  unpaid overtime hours—had knowledge of the full extent of the actual hours worked in excess of

  Forty (40) hours per week by Plaintiff and other similarly situated non-exempt administrative

  office employees for the benefit of ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT,

  INC. in on or more weeks between October 2015 and the present but Defendant willfully failed to

  compensate Plaintiff and all other similarly situated employees, instead accepting the benefits of

  the overtime work performed by Plaintiff and the others similarly situated to him without paying

  all of the overtime compensation required by the FLSA.

         19.     The complete records reflecting the compensation paid by ATLANTIC & PACIFIC

  ASSOCIATION MANAGEMENT, INC. to Plaintiff and all other similarly situated non-exempt

  administrative office employees, however variously titled, at any location between October 2015

  and the present are in the possession, custody, and/or control of Defendant.

                                 COUNT I
           OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

         20.     Plaintiff, JULIO A. TAVERAS, readopts and realleges the allegations contained in

  Paragraphs 1 through 19 above.



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          21.    Plaintiff is entitled to be paid time and one-half of his applicable regular rate(s) of

  pay for each hour he worked for ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT,

  INC. as a non-exempt administrative office employee in excess of Forty (40) hours per work week

  during the three (3) year statute of limitations period between approximately May 2017 and May

  2018.

          22.    All similarly situated non-exempt administrative office employees, however

  variously titled, of ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. are also

  entitled to be paid time and one-half of their applicable regular rates of pay for each and every

  overtime hour they worked for Defendant at any location but were not properly compensated for

  working on Defendant’s behalf during any work weeks within the three (3) year statute of

  limitations period between October 2015 and the present.

          23.    ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. has knowingly

  and willfully failed to pay Plaintiff and the other non-exempt administrative office employees,

  however variously titled, similarly situated to him at time and one-half of their applicable regular

  rates of pay for all hours worked for Defendant in excess of Forty (40) per week between October

  2015 and the present.

          24.    At all times material to this Complaint, ATLANTIC & PACIFIC ASSOCIATION

  MANAGEMENT, INC. had constructive notice and/or actual knowledge that Defendant’s

  compensation practices did not provide Plaintiff and other non-exempt administrative office

  employees, however variously titled, with time and one-half wages for all of their actual overtime

  hours worked between October 2015 and the present based upon, inter alia: (a) inaccurate time

  records of the start times, stop times, and total hours worked each week by Plaintiff and the other

  similarly situated employees; and (b) knowingly failing to pay time and one-half wages for all of




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  the actual hours worked in excess of Forty (40) hours per week by Plaintiff and other similarly

  situated employees, and instead failing to pay time and one-half wages for the overtime hours that

  ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. knew had been worked for the

  benefit of Defendant.

         25.     By reason of the said intentional, willful and unlawful acts of ATLANTIC &

  PACIFIC ASSOCIATION MANAGEMENT, INC., all Plaintiffs (the named Plaintiff and those

  employees similarly situated to him) have suffered damages plus incurring costs and reasonable

  attorneys’ fees.

         26.     Based upon information and belief, at all times material to this Complaint,

  ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC. did not have a good faith basis

  for its failure to pay time and one-half wages for all of the actual hours worked by Plaintiff and

  the other similarly situated non-exempt administrative office employees, however variously titled,

  as a result of which Plaintiff and those similarly situated to him are entitled to the recovery of

  liquidated damages from Defendant pursuant to 29 U.S.C. §216(b).

         27.     Plaintiff has retained the undersigned counsel to represent him in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from ATLANTIC & PACIFIC

  ASSOCIATION MANAGEMENT, INC. all reasonable attorneys’ fees and costs incurred as a

  result of Defendant’s violations of the FLSA.

         28.     Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, JULIO A. TAVERAS and any current or former employees

  similarly situated to him who join this action as Opt-In Plaintiffs, demand judgment against

  Defendant, ATLANTIC & PACIFIC ASSOCIATION MANAGEMENT, INC., for the payment

  of all unpaid overtime compensation, liquidated damages, reasonable attorneys’ fees and costs of




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  suit, and for all proper relief including prejudgment interest.

                                      JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues so triable.



  Dated: October 28, 2018                        Respectfully submitted,

                                         By:     s/KEITH M. STERN
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